
Martin, J.
The relief sought in the first Wile action is similar to that requested in Wile v. Burns Bros., No. 1, 239 App. Div. 59), argued herewith, which is referred to as the second Wile action. Since the denial by the Special Term of the motion herein, Mr. Justice Glennon on April 28, 1933, by order, required the plaintiffs to serve an amended complaint, making it more definite and certain. The amended complaint has not yet been served. The appeal, therefore, should be dismissed, with twenty dollars costs and disbursements.
Finch, P. J., Merrell and Townley, JJ., concur; McAvoy, J., taking no part.
Appeal from order entered April 21, 1933, dismissed, with twenty dollars costs and disbursements to the respondent.
